Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 1 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JOHN HANCOCK. LIFE INSURANCE
COMPANY (U.S.A) f/k/a Manufacturers
Life Insurance Company,

Plaintiff,

Vv. Case No,: 4:18-cv-02869
THE ESTATE OF JENNIFER LAUREN
WHEATLEY, et al.,

*

Defendants,
Vv,

)

)

)

)

)

)

)

)

)

se

)

)

)

.

LOUIS ANTHONY WHEATLEY, )
INDIVIDUALLY and as ADMINISTRATOR OF)
THE ESTATE OF JENNIFER LAUREN )
WHEATLEY, DECEASED, )
)

)

Third Party Defendants,

THE DEFENDANT, THE ESTATE OF JENNIFER LAUREN WHEATLEY’S
THIRD REQUEST FOR ADMISSIONS, SECOND SET OF INTERROGATORIES AND
THIRD REQUEST FOR PRODUCTION OF DOCUMENTS TO THI PLAINTIFE JOHN
HANCOCK LIFE INSURANCE COMPANY (U.S.A.)
fik/a Manufacturers Life Insurance Company

   

THIRD REQUEST FOR ADMISSIONS

NOW COMES the Defendant, The Estate of Jennifer Lauren Wheatley, by and through its
undersigned attorney of record, and hereby serves upon the Plaintiff John Hancock Life Insurance
Company (U.S.A.) f/k/a Manufacturers Life Insurance Company (hereinafter “the Plaintiff John
Hancock”), the following Request for Admissions, pursuant to Rule 36 of the Federal Rules of
Civil Procedure. Pursuant to Rule 36, the Plaintiff John Hancock shall specifically admit or deny
or set forth in detail the reasons why it cannot truthfully admit or deny the matter, A denial shall
fairly respond to the substance of the requested admissions, and when good faith requires that the
Plaintiff John Hancock qualify its answer or deny only a part of the matter of which an admission
is requested, the Plaintiff John Hancock shall specify so much of it as is true and qualify or deny
the remainder. The Plaintiff? John Hancock may not give lack of information or knowledge as a
reason for failure to admit or deny unless it states that it has made reasonable inquiry and that the

DEFENDANT'S
g EXHIBIT
:

ma) as

 

 

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 2 of 11

information known ot readily obtainable by it is insufficient to enable it to admit or deny, The
Plaintiff John Hancock may not object to a request for admissions solely on the grounds that it
presents a genuine issue for trial. Pursuant to Rule 36 (a)(1)(A), the following admissions may
request an admission as to the truth of any matter-as to the facts, the application of law to facts or
opinions about either.

Definition: “John Hancock” shall refer to the corporation known as John Hancock Life
Insurance Company (USA), the Plaintiff in this action,

Definition: “Annuity contract” is the annuity contract which is the subject of Request for
Admissions Number 1,

Definition: “Beneficiary Designation — LIFE form” refers to the Exhibit B attached to the
Plaintlif’s complaint filed herein (ECF document 1-2, page 1 of 1),

PLEASE ADMIT:

9, Pursuant to the annuily contract, as of December 7, 2008, the primary beneficiary
of any monthly annuity payments due after the annuitant died was the “executors or
administrators of the annuitant.”

RESPONSE:

10, That the annuity contract sets out a specific procedure for the change of
beneficiary as follows:

“Change of beneficiary. During the annuitant’s lifetime, you can
change the beneficiary: you must give us notice in written form
satisfactory lo us, We are not responsible if the change does not
achieve your purpase,”

RESPONSE:

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 3 of 11

11, That on the fitst page of the annuity contract policy, the word “you” is defined as
follows: “In this policy, “you” and “your” refers to the owner of the policy.”

RESPONSE;

12, That the annuity contract gives only the owner the right to change the beneficiary,

RESPONSE:

. 13, The annuity contract does not give the annuitant the unilateral right to change the
beneficiary.

RESP EH

14. That sometime between December 8, 2008, and January 16, 2009, the Beneficiary
Designation - LIFR form was received by John Hancock,

RESPONSE;
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 4 of 11

15. That the original of the Beneficiary Designation -- LIFE form was a two sided
document.

RESPONSE:

16. That as of December 8, 2008, John Hancock had a pre-prepared standard fill-in-
the-blank form for changing the beneficiary of an annuity contract.

RESPONSE:

17, That the Beneficiary Designation — LIFE form was designed and intended to be used
in conjunction with changes made to life insurance contracts,

ESPONSE:

18. That upon John Hancock’s receipt of the Beneficiary Designation - LIFE form,
John Hancock knew, or had reason to know, that this Beneficiary Designation - LIFE form had
not been signed by the owner of said annuity, the United States of America.

RESPONSE:
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 5 of 11

19. That at the time of Jobn Hancock’s receipt of the Beneficiary Designation - LIFE
form, John Hancock knew, or had reason to know, that the owner of the annuity was the United
States of America,

RESPONSE:

20. ‘That prior to sending Ms, Jennifer Wheatley the letter dated January 15, 2009,
(GFC document [-3, p. 1 of 1), John Hancock knew, or had reason to know, that Jennifer
Wheatley was not the owner of the annuity contract,

RESPONSE:

21, That prior to sending Ms, Jennifer Wheatley that letter dated January 15, 2009,
(BEC document 1-3, p. 1 of 1}, John Hancock new, or had reason to know, that this attempt to
change the beneficiary was invalid.

RESPONSE:

22. That when John Hancock paid those benefits to the Defendant, Jeremy Ward,
totaling $12,468.06 on May 16 and May 17, 2018, John Hancock knew, or had reason to know,
that Jeremy Ward was not entitled ta those benefits.

RESPONSE:

 

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 6 of 11

SECOND SET OF INTERROGATORIES

NOW COMES the Defendant, The Estate of Jennifer Lauren Wheatley, pursuant to Rule
33 of the Federal Rules of Civil Procedure, and hereby requests that the Plaintiff John Hancock
Life Insurance Company (U.S.A.) f/k/a Manufacturers Life Insurance Company (hereinafter “the
Plaintiff John Hancock”) answer under oath the following Interrogatories,

The Plaintiff John Hancock, through its officers and/or agents, is required to answer these
Interrogatories separately and fully in writing under oath and serve a copy of its answers to the
undersigned within the time prescribed by the Federal Rules of Civil Procedure,

These Interrogatorics shall be continuing in nature until the date of wie! and the Plaintiff
John Hancock is required to serve supplemental answers as additional information may become
available to it.

DEFINITIONS

The following definitions shall apply herein:

1, Where relevant, “the Plaintiff John Hancock” means present and former agents
and/or employees.

2. “Document” means the original and any non-identical copy (regardless of origin)
and all drafts of any writing conveying information including, but not limited to, cotrespondence,
notes, reports, memoranda, statements, minutes, telegrams, analyses, letters, and other
communications, and photographs, videotape recordings, charts or other recordings or data
compilations, .

3, “Identify” means, when referring to a person, to state the fall name and present
address, and if a natural person, the person's present employer and last known position or business
affiliation, as well as the person's employer and position at the tine to which the Interrogatory has
reference: when used in reference to a document, to state its date, the date of its execution, if
different from the date it bears, the full name and address of its author and of each addressee or
recipient thereof, and its present location and custodian thereof; when referring to an oral
communication, to state the date on which it occurred and its contents, and to identify the speaker
and each person present when it was made, and each document evidencing, memorializing, or
referring thereto.

4, Masculine shall include feminine and/or neuter, and singular shall include plural.
The terms “and” and “or” shall be both conjunctive and dis{unctive.
5. “Person” shall be deemed to include both singular and plural, and shall include any

natural person, association, corporation, or partnership, or any other form of legal ontity.

6, “John Hancock” shall refer to the corporation known as John Hancock Life
Insurance Company (USA), the Plaintiff in this action,

7. “Annuity contract” is the annuity contract which is the subject of Request for
Admissions Number 1.

6

 

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 7 of 11

&. “Beneficiary Designation - LIFE form” refers to the Exhibit B attached to the
Plaintiff's complaint filed herein (document 1-2, page 1 of 1).

INTERROGATORIES

7. From the time of the receipt of the Beneficiary Designation ~ LIFE form, identify
each employee of John Hancock who handled or was otherwise involved with the processing of
said form, and identify all documents created in conjunction with the receipt, processing and any
actions taken by John Hancock with regards to this beneficiary change request,

RESPONSE:
8. State the procedures in place as of May 18, 2018, concerning the authorization

and/or approval of a disbursement to be made, after an annuitant’s death, to a person determined
to be the proper recipient of an annuity payment,

 

RESPONSE:
9, State the name and employment position of the individual who authorized the

electronic transfers of the following funds to Defendant, Jeremy Ward’s bank account: the sum of
$3,463.36 on May 16, 2018, and the sum of $9,00470 on May 17, 2019; and identify all documents
in confunction with said authorization,

RESPONSE:

10, Identify all correspondence or other communications received from Louis Anthony
Wheatley at any timo from May 1, 2018, till August 20, 2018, in conjunction with the claim of the
estate of Jennifer Lauren Wheatley.

RESPONSE;
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 8 of 11

i1. Explain the nature, extent, and scope of the “review” referred to in John Hancock’s
March 8, 2018, letter (ECF document 74-1, p. 33 of 43), identify the John Hancock employees
who participated in said review and identity all documents pertaining thereto,

SPONSE:

THIRD REQUESTS FOR PRODUCTION OF DOCUMENTS

NOW COMES the Defendant, The Estate of Jennifer Lauren Wheatley, pursuant to Rule
34 of the Federal Rules of Civil Procedure, and hereby requests that the Plaintiff John Hancock
Life Insurance Company (U.S.A.) f/k/a Manufacturers Life Insurance Company (hereinafter “the
Plaintiff John Hancock”) supply the requested documents.

DEFINITIONS

The following definitions will apply throughout these Request for Production of
Documents:

\, “Identify,” when used in reference to a document, means state the name of the person
who authored or originated the document, the date on which it was originated or authored, the location
of the document and all copies, and give a brief summary of its contents.

2, “Document” is used in the broadest sense and includes, but is not limited to, the
following items, whether printed or reproduced by any other mechanical of electronic process or
writing, or produced by hand, and shail include the original, all non-identical copies and all drafts of
any and all agreements, communications, correspondence, memoranda, records, books, summaties of
records of personal conversations or interviews, diaries, forecasts, statistical statements, accountants
work papers, graphs, charts, accounts, analytical statements, reports and other writings of whatever
description, including, but not limited to, any information contained in any computer, although not
yet printed out, and within your possession, custody or control or in the possession, control or custody
of any agent or employee, In the event that a document requested herein was, but is no longer, in the
possession, custody or control of Plaintiff, state what disposition was made of it, why, when and by
whom,

3. “You” or “your” means Plaintiff, her attomeys, or any other person acting on
Plaintiff's behalf.

A, The dooutnents produced pursuant to this Request should be separately produced for
cach patagraph of the Request or, in the alternative, shall be identified as complying with the particular
paragraph of parageaphs of the Request to which they are responsive.

5, Whenever a Request calls for identification of a document claimed by Plaintiff? to be
ptivileged, include (i) the date of the document, (ii) the name of the person originating or authoring
the document, (iii) identify all persons who have seen the document, and (iy) a brief description of

8

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 9 of 11

such document, the privilege asserted, the facts that support such claim of privilege and the basis
asserted for such claim.

6, ‘Joho Hancock”. shall refer to the corporation known as John Hancock Life
Insurance Company (USA), the Plaintiff in this action.

7. “Annuity contract” is the annuty contract which is the subject of Request for
Admissions Number 1,

8, “Beneficiary Designation - LIFE form” refers to the Exhibit B attached to the
Plaintiff's complaint filed herein (document 1-2, page 1 of 1).

REQUEST FOR PRODUCTION OF DOCUMENTS

13, All documents identified in interrogatoty number 7 above.

14, All documents identified in interrogatory number 8 above,

15. All documents identified in interrogatory number 9 above.

16. All documents identified in interrogatory number 10 above.

17. Produce the back side of the Exhibit B attached to the complaint filed herein,

18. Produce those pre-prepared standard fill-in-the-blank form identified in your
response to Interrogatory #16 hereinabove,

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 10 of 11

This the ol! | day of January, 2019,

10

Woh ay

M, Douglas Berry

GABRIEL BERRY & WESTON, LLP,
North Carolina Bar No. 6506
dougberry@gbwlaw.com

214 Commerce Place

Greensboro, North Carolina 27401

(336) 275,9381 — Telephone

(336) 275-7864 — Facsimile

Attorney Jor Defendant, The Estate of
Jennifer Lauren Wheatley

 
Case 4:18-cv-02869 Document 122-1 Filed on 03/06/20 in TXSD Page 11 of 11

CERTIFICATE OF SERVICE

This is to certify that on this date a copy of the foregoing “The Defendant, The Estate of
Jennifer Lauren Wheatley’s Third Request for Admissions, Second Set of Interrogatories and
Thirel Request for Production of Documents to the Plaintiff John Hancock Life Insurance Company
(U.S.A, f/k/a Manufacturers Life insurance Company” was served on the following individuals
by depositing a copy of the same in the United States Mail in a properly addressed envelope with
adequate postage thereon, in the manner prescribed by Rule 5 of the Federal Rules of Civil
Procedure, as follows:

Mr, Gregory J, Sachnik

Attorney for Plaintiff John Hancock Life Insurance Company (U.S.A,)
2200 Ross Avenue, Suile 3300

Datlas, Texas 7520]

Ms. Jennifer L, Berhorst

Attorney for Plaintiff Jonn Hancock Life Insurance Company (U.S.A,}
1200 Main Street, Suite 3800

Kansas City, Missouri 64105

Mr, H. Clay Moore

Attorney for Defendant Jeremy G, Ward
4314 Yoakum Boulevard, Suite 2E
Houston, Texas 77006

Ms. Ariel Nicole Wiley

Attorney for U.8, Department of Justice
U.S, Attorney’s Office

1000 Louisiana Street, #2300

Houston, Texas 77002

Mr, Bob Mabry
Attorney for Defendant Jeremy G, Ward and Annie Hall

704 N, Thompson St. Ste, 157
a
Ms tal

This hed | day of January, 2020,

 

Conroe, Texas 77301-2066
M, Douglas ‘Berry

GABRIEL BERRY & WESTON, L.L.P.
. North Carolina Bar No, 6506

dougberryebwlaw.com,

214 Commerce Place

Greensboro, North Carolina 2740]

(336) 275.9381 ~ Telephone

(336) 275-7864 — Facsimile

Attorney for Defendant, The Estate of

Jennifer Lauren Wheatley

1]
